        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 1 of 34




SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK


 Uniformed Fire Officers Association; Uniformed             Index No.:
 Firefighters Association of Greater New York;
 Correction Officers’ Benevolent Association of the
 City of New York, Inc.; Police Benevolent                  VERIFIED PETITION/
 Association of the City of New York, Inc.; Sergeants       COMPLAINT UNDER ARTICLE
 Benevolent Association; Lieutenants Benevolent             75, UNITED STATES AND NEW
 Association; Captains Endowment Association; and           YORK CONSTITUTIONS,
 Detectives’ Endowment Association,                         COMMON LAW, AND ARTICLE
                                                            78 SEEKING INJUNCTIVE AND
                    Petitioners/Plaintiffs,                 DECLARATORY RELIEF

       -against-                                            ORAL ARGUMENT REQUESTED

 Bill de Blasio, in his official capacity as Mayor of the
 City of New York; the City of New York; Daniel A.
 Nigro, in his official capacity as the Commissioner of
 the Fire Department of the City of New York,
 Cynthia Brann, in her official capacity as the
 Commissioner of the New York City Department of
 Correction; Dermot F. Shea, in his official capacity
 as the Commissioner of the New York City Police
 Department; the Fire Department of the City of New
 York; the New York City Department of Correction;
 the New York City Police Department; Frederick
 Davie, in his official capacity as the Chair of the
 Civilian Complaint Review Board; and the Civilian
 Complaint Review Board,

                    Respondents/Defendants.



       Petitioners/Plaintiffs Uniformed Fire Officers Association, Uniformed Firefighters

Association of Greater New York, Correction Officers’ Benevolent Association of the City of New

York, Inc., Police Benevolent Association of the City of New York, Inc., Sergeants Benevolent

Association, Lieutenants Benevolent Association, Captains Endowment Association, and

Detectives’ Endowment Association (“Petitioners” or the “Unions”), by and through their

undersigned attorneys, as and for their Verified Petition and Complaint, allege as follows:


                                                  1
          Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 2 of 34




                                  PRELIMINARY STATEMENT

         1.       This case challenges Respondents/Defendants’ (“Respondents”) unilateral

pronouncements that they will begin the release as soon as July 15, 2020, of records concerning

disciplinary matters against retired and active individual New York City police officers,

firefighters, and corrections officers, including those that are non-final, unsubstantiated,

unfounded, exonerated, or resulted in a finding of not guilty (“Unsubstantiated and Non-Final

Allegations”) and confidential settlement agreements, in the wake of the repeal of Civil Rights

Law § 50-a. These Unsubstantiated and Non-Final Allegations—unproven allegations at best and

false allegations at worst—will be “data dumped” on the internet, resulting in the publication and

promotion of information that will absolutely destroy the reputation and privacy—and imperil the

safety—of many of those firefighters and officers. This indiscriminate release would, among other

harms:

                 Violate Petitioners’ Collective Bargaining Agreements with the Respondents;

                 Violate the Due Process Clauses of the United States and New York State

                  Constitutions, and irrevocably and unfairly stigmatize Petitioners’ members;

                 Breach thousands of settlement agreements entered into in good faith with the

                  Respondents with the promise and expectation of confidentiality; and

                 Arbitrarily and capriciously reverse longstanding city and State practice of deeming

                  unsubstantiated allegations to be protected from disclosure, separate and apart from

                  the provisions of § 50-a.

         2.       This is not a challenge to disclosure of proven and final disciplinary matters—i.e.,

those that at least have been vetted through an evidence-based investigative and adjudicatory

process that includes basic due process protections. This is a challenge to protect Petitioners’




                                                   2
            Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 3 of 34




members’ rights that will be violated when Respondents release these Unsubstantiated and Non-

Final Allegations within days, in what amounts to a massive public data dump.

        3.      It takes no evidence to make a complaint against a firefighter, corrections officer,

or police officer. Baseless claims can be levied for any number of nefarious motivations. Without

the safeguards of proof and finality, the lives of firefighters, officers, and their families may be

irreparably ruined. Take, for example, the privacy violation and damage to firefighters’ or officers’

families of releasing unfounded allegations relating to domestic disputes, or an unfounded

accusation of racial bias. If Respondents are permitted to promote and publish on the internet these

Unsubstantiated and Non-Final Allegations, Petitioners’ members will suffer irreparable harm.

The Unsubstantiated and Non-Final Allegations will remain forever in the public domain creating

limitless and eternal notoriety, even if they are found to be false and unproven.

        4.      Although the repeal of Civil Rights Law § 50-a eliminates a categorical prohibition

to the public review of law enforcement records, it does not obliterate pre-existing contractual

rights or constitutional and common law protections that all citizens, including the Petitioners,

share, which forbid Respondents from promoting unproven, defamatory allegations to the world

at large.

        5.      Collective Bargaining Agreements/CPLR Article 75: Each of the Petitioners has

entered into a Collective Bargaining Agreement (“CBA”) with their respective agencies and the

City governing the terms and conditions of their employment. The CBAs protect Petitioners

against the release of Unsubstantiated and Non-Final Allegations. The Respondents have no

lawful right to unilaterally violate those terms, and render them null and void, or to impose new

terms, without following the provisions of the NYC Collective Bargaining Law, including those

laws relating to the arbitration of grievances. In addition, at least some of the Petitioners have




                                                 3
         Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 4 of 34




filed (or will be filing) grievances under their respective CBAs. Pending final determination of

those grievances through the collective bargaining process, Respondents must be enjoined under

Article 75 of the CPLR.

       6.      Due Process and Equal Protection: The indiscriminate disclosure on the internet

of unproven allegations without due process of law is functionally irreversible, and will create

unfair, unlawful, and limitless notoriety for the Petitioners, with substantial impact to their future

employment prospects. Such a release would destroy the reputations and imperil the safety of

those firefighters and officers and their families forever—all while the Respondents treat other

City employees fairly by protecting their privacy. The release of Unsubstantiated and Non-Final

Allegations constitutes a violation of the Due Process and Equal Protection Clauses of the United

States and New York State Constitutions, and treats law enforcement officers different than other

city employees for whom unsubstantiated allegations are maintained as private.

       7.      Contract Rights for Past Settlements: The data dump will also include

accusations that resulted in settlement agreements. Such disclosure will breach those settlement

contracts. Any settlement agreement entered into before June 2020—when Civil Rights Law § 50-

a, which shielded disclosure of disciplinary records, was repealed—necessarily incorporated § 50-

a’s protections against disclosure of this very type of information. New York’s recent repeal of

§ 50-a does not alter these existing contracts, nor was it ever intended to do so.

       8.      CPLR Article 78: In addition, release of such Unsubstantiated and Non-Final

Allegations would also constitute errors of law and be arbitrary and capricious agency action as an

unwarranted and irreversible invasion of the right to privacy. Respondents themselves have

asserted for decades that release of Unsubstantiated and Non-Final Allegations would be an

unwarranted invasion of privacy. It is an error of law and arbitrary and capricious for the




                                                  4
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 5 of 34




Respondents to change decades of agency practice on the protections afforded Unsubstantiated

and Non-Final Allegations under the pretext of the repeal of § 50-a. Thus, Respondents’ actions

violate Article 78 of the CPLR.

       9.      The Respondents have not identified whose records will be released, the content of

those records, or made any determination of the consequences to the safety, reputation, or privacy

of the implicated officers. Pending a determination of the claims asserted in this action, the

Respondents must be restrained from the release and promotion on the internet of Unsubstantiated

and Non-Final Allegations and confidential settlement agreements—otherwise, the Respondents

would make this lawsuit an empty ritual, incapable of protecting the reputation, privacy, and safety

of hundreds of New York City’s firefighters, police, and corrections officers. There would be no

material prejudice to the Respondents from the entry of provisional relief, but in the absence of

provisional relief, the damage to the Petitioners would be irreversible. To protect Petitioners’

rights, Petitioners respectfully request temporary, preliminary, and permanent injunctive relief on

all claims, barring the release of records regarding Unsubstantiated and Non-Final Allegations or

that regard settlement agreements entered into prior to June 12, 2020.

                                            PARTIES

       10.     Petitioner Uniformed Fire Officers Association (“UFOA”) is the duly certified

collective bargaining representative of officers of the Fire Department of the City of New York in

the rank of Lieutenant, Captain, Battalion Chief, Deputy Chief (except those Deputy Chiefs

designated as Deputy Assistant Chief of Department, Assistant Chief of Department and Chief in

Charge), Fire Medical Officer, and Supervising Fire Marshal. Upon information and belief, UFOA

members will be named in the data that Respondents plan to make public and would suffer a

concrete and particularized injury by the release, which is imminent. By this action, UFOA seeks

to protect the interest of these and other UFOA members.


                                                 5
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 6 of 34




       11.     Petitioner Uniformed Firefighters Association of Greater New York (“UFA”) is the

duly certified collective bargaining representative of officers Fire Department of the City of New

York in the rank of Firefighter and Fire Marshal. Upon information and belief, UFA members

will be named in the data that Respondents plan to make public and would suffer a concrete and

particularized injury by the release, which is imminent. By this action, UFA seeks to protect the

interest of these and other UFA members.

       12.     Petitioner Correction Officers’ Benevolent Association of the City of New York,

Inc. (“COBA”) is the duly certified collective bargaining representative of officers of the New

York City Department of Correction (“NYCDOC”) in the rank of Correction Officer. Upon

information and belief, COBA members will be named in the data that Respondents plan to make

public and would suffer a concrete and particularized injury by the release, which is imminent. By

this action, COBA seeks to protect the interest of these and other COBA members.

       13.     Petitioner Police Benevolent Association of the City of New York, Inc. (“PBA”) is

the duly certified collective bargaining representative of all officers of the New York City Police

Department in the rank of Police Officer. Upon information and belief, PBA members will be

named in the data that Respondents plan to make public and would suffer a concrete and

particularized injury by the release, which is imminent. By this action, PBA seeks to protect the

interests of these and other PBA members.

       14.     Petitioner Sergeants Benevolent Association (“SBA”) is the duly certified

collective bargaining representative of all officers of the New York City Police Department in the

rank of Sergeant. Upon information and belief, SBA members will be named in the data that

Respondents plan to make public and would suffer a concrete and particularized injury by the

release, which is imminent. By this action, SBA seeks to protect the interests of these and other




                                                6
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 7 of 34




SBA members

       15.     Petitioner Lieutenants Benevolent Association (“LBA”) is the duly certified

collective bargaining representative of all officers of the New York City Police Department in the

rank of Lieutenant. Upon information and belief, LBA members will be named in the data that

Respondents plan to make public and would suffer a concrete and particularized injury by the

release, which is imminent. By this action, LBA seeks to protect the interests of these and other

LBA members.

       16.     Petitioner Captains Endowment Association (“CEA”) is the duly certified

collective bargaining representative of all officers of the New York City Police Department in the

rank of Captain. Upon information and belief, CEA members will be named in the data that

Respondents plan to make public and would suffer a concrete and particularized injury by the

release, which is imminent. By this action, CEA seeks to protect the interests of these and other

CEA members.

       17.     Petitioner Detectives’ Endowment Association (“DEA”) is the duly certified

collective bargaining representative of all officers of the New York City Police Department in the

rank of Detective. Upon information and belief, DEA members will be named in the data that

Respondents plan to make public and would suffer a concrete and particularized injury by the

release, which is imminent. By this action, DEA seeks to protect the interests of these and other

DEA members.

       18.     Respondent Bill de Blasio is the Mayor of the City of New York (the “Mayor”) and

is named in his official capacity. The Mayor’s principal place of business is located at City Hall,

New York, New York 10007.

       19.     Respondent the City of New York (the “City”) is a municipal corporation organized




                                                7
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 8 of 34




and existing under New York state law. The City’s principal place of business is located at City

Hall, New York, New York 10007.

       20.    Respondent Daniel A. Nigro (“Commissioner Nigro”) is the Commissioner of the

Fire Department of the City of New York and is named in his official capacity. Commissioner

Nigro’s principal place of business is located at 9 MetroTech Center, Brooklyn, New York 11201.

       21.    Respondent the Fire Department of the City of New York (“FDNY”) is a municipal

fire department administered under the New York Administrative Code, Title 29 of the City of

New York. FDNY’s principal place of business is located at 9 MetroTech Center, Brooklyn, New

York 11201.

       22.    Respondent the New York City Department of Correction (“NYCDOC”) is a

municipal fire department administered under the New York Administrative Code, Title 9 of the

City of New York. NYCDOC’s principal place of business is located at 75-20 Astoria Boulevard,

East Elmhurst, New York 11370.

       23.    Respondent Cynthia Brann (“Commissioner Brann”) is the Commissioner of the

New York City Department of Correction and is named in her official capacity. Commissioner

Brann’s principal place of business is located at 75-20 Astoria Boulevard, East Elmhurst, New

York 11370.

       24.    Respondent Dermot F. Shea (“Commissioner Shea”) is the Commissioner of the

New York City Police Department and is named in his official capacity. Commissioner Shea’s

principal place of business is located at One Police Plaza, New York, New York 10038.

       25.    Respondent the New York City Police Department (“NYPD”) is a law enforcement

agency administered under the New York Administrative Code, Title 14 of the City of New York.

NYPD’s principal place of business is located at One Police Plaza, New York, New York 10038.




                                               8
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 9 of 34




       26.     Respondent Frederick Davie (“Chair Davie”) is the Chair of the Civilian Complaint

Review Board and is named in his official capacity. Chair Davie’s principal place of business is

located at 100 Church Street, 10th Floor, New York, New York 10007.

       27.     Respondent the Civilian Complaint Review Board (“CCRB” or “the Board”) is an

independent municipal agency constituted under § 440 of the Charter of the City of New York.

CCRB’s principal place of business is located at 100 Church Street, 10th Floor, New York, New

York 10007.

                                JURISDICTION AND VENUE

       28.     This action is brought against the City and the Mayor in his official capacity under

Articles 75 and 78 of the CPLR to challenge their role in directing Respondents to publicly release

Unsubstantiated and Non-Final Allegations in violation of applicable law and in an arbitrary and

capricious manner, and in violation of the terms of Petitioners’ CBAs and applicable settlement

agreements.

       29.     This action is brought against the NYPD and Commissioner Shea in his official

capacity under Articles 75 and 78 of the CPLR to challenge the NYPD’s planned release of

Unsubstantiated and Non-Final Allegations in violation of applicable law and in an arbitrary and

capricious manner, and in violation of the police Petitioners’ CBAs and applicable settlement

agreements.

       30.     This action is brought against the FDNY and Commissioner Nigro in his official

capacity under Articles 75 and 78 of the CPLR to challenge the FDNY’s planned release of

Unsubstantiated and Non-Final Allegations in violation of applicable law and in an arbitrary and

capricious manner, and in violation of the firefighter Petitioners’ CBAs and applicable settlement

agreements.

       31.     This action is brought against the NYCDOC and Commissioner Brann in her


                                                9
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 10 of 34




official capacity under Articles 75 and 78 of the CPLR to challenge any planned DOCs release of

Unsubstantiated and Non-Final Allegations in violation of applicable law and in an arbitrary and

capricious manner, and in violation of correction Petitioners’ CBA and applicable settlement

agreements.

       32.     This action is brought against the CCRB and Chair Davie under Article 78 of the

CPLR to challenge the CCRB’s release of Unsubstantiated and Non-Final Allegations in violation

of applicable law and in an arbitrary and capricious manner.

       33.     This action is also brought against all Respondents under the general original

jurisdiction of this Court under Article VI, Section 7 of the New York Constitution.

       34.     This Court has personal jurisdiction over all Respondents under CPLR § 301

because Respondents work in or conduct substantial business within New York.

       35.     The Court also has jurisdiction under CPLR § 3001.

       36.     This action is timely under CPLR § 217 (1) because it was brought within four

months of June 16, 2020, the first time Mayor de Blasio announced the City’s intention to release

unsubstantiated resolved complaints against NYPD officers, including law enforcement officers

represented by Petitioners.

       37.     Venue is proper in this Court under CPLR §§ 503(a), 506(b), and 7804(b).

       38.     The Unions have associational standing to sue here because (1) one or more of

every unions’ members has standing to sue; (2) the interests advanced by vindicating the rights of

the members are sufficiently germane to the Petitioners’ purposes to demonstrate that Petitioners

will appropriately represent the members’ interests; and (3) the participation of the individual

members is not required to assert the claim or to afford the Petitioners complete relief. See

Westchester Cnty. Dep't of Pub. Safety Police Benev. Ass’n, Inc. v. Westchester Cnty., 35 A.D.3d




                                               10
       Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 11 of 34




592, 594, 828 N.Y.S.2d 412, 414 (2d Dep’t 2006).

                                        BACKGROUND

       A.        The Disciplinary Process and Handling of Complaints Against Officers
       39.       Complaints against NYPD, FDNY and DOC officers may be brought by civilians,

inmates, other officers, or by the Departments themselves. There are numerous avenues for

complaints to be made against officers, and it can be done as easily as anonymously calling 311

or sending an anonymous email:

                NYPD: In addition to being reported internally through the chain of command,
                 complaints against any NYPD office may be reported in person, by telephone via
                 NYC’s 311 hotline, or via the CCRB’s dedicated hotline, by email or mail to the
                 CCRB, the Internal Affairs Bureau of NYPD, or directly to the New York City
                 Inspector General for the NYPD.
                FDNY: A complaint against an FDNY officer may be reported internally through
                 chain of command, to the FDNY confidential complaint telephone line, or directly
                 to the Inspector General for the FDNY.
                NYCDOC: A complaint against a DOC officer may be reported by an inmate
                 grievance through the Office of Constituent and Grievances Services, internally
                 through chain of command, through the NYC Board of Corrections, or directly to
                 the Inspector General for NYCDOC.
       40.       The disciplinary processes of the NYFD, NYDOC, and NYPD are similar. For

police, the NYPD procedures involve complaints and investigations, followed potentially by a

proceeding where necessary and a final discretionary decision by the Commissioner.

       41.       For example, a complaint against an NYPD officer may be reported to the CCRB,

the Internal Affairs Bureau of NYPD (“NYPD-IAB”), or the Office of Inspector General for

NYPD (“NYPD-OIG”). Complaints may be brought by fellow officers, civilians, or the NYPD

itself. Civilian and officer complaints may be made anonymously.

       42.       Once a complaint is lodged, it is investigated by the CCRB, NYPD-IAB, or the

NYPD’s Force Investigation Division (“NYPD-FID”). NYPD-IAB investigates most complaints

alleging serious misconduct brought against officers. CCRB investigates complaints made by


                                                11
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 12 of 34




members of the public against officers involving allegations of use of force (with the exception of

those in the category of “readily capable of causing death or serious physical injury,” which will

be investigated by NYPD-IAB or NYPD-FID), abuse of authority, discourtesy, and offensive

language. NYPD-FID investigates all firearms discharges, fatalities related to police action, and

cases when a subject of police action is seriously injured and death is likely.

        43.     After being investigated, an allegation is designated as “unfounded” when the

investigation determines that it did not occur. An allegation is designated as “unsubstantiated” if

the investigators do not believe a preponderance of the evidence supports that the conduct

described in the complaint occurred. An officer may be “exonerated” if the investigation finds

that the conduct occurred but was not improper.

        44.     If the investigation concludes that the conduct occurred in whole or in part and was

at least somewhat improper, the investigating entity will make a recommendation for the officer

to be subject to certain discipline and/or training or, in serious cases, for the officer be served with

Charges and Specifications, which detail the specific provisions of the Department’s rules and

regulations alleged to have been violated, but there is no final determination that the allegation is

true.

        45.     If Charges and Specifications are filed, the officer may elect to proceed to trial

before an appointed Trial Commissioner, whose responsibility it is to determine whether the

charges were proven by a preponderance of the credible evidence and, if so, what penalty should

be imposed. The Trial Commissioner provides a written recommendation which summarizes the

evidence and recommends a finding and, if appropriate, a disciplinary penalty. The Commissioner

makes the final determination on whether to accept the Trial Commissioner’s recommendation,

and whether and to what degree discipline should be imposed




                                                  12
         Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 13 of 34




         46.      Although some Charges and Specifications filed against officers relate to purely

technical infractions, such as lateness, record keeping, and lost/damaged property, many of the

Charges filed relate to significantly more serious allegations.

         47.      The vast majority of NYPD complaints are never proven, even by the relatively low

preponderance-of-the-evidence standard.

         48.      A January 2019 Independent Panel Report regarding the NYPD Disciplinary

System reported that approximately 55,000 annual complaints are made against NYPD officers

through the CCRB and NYPD’s Advocate Office. See The Report of the Independent Panel on

the Disciplinary System of the New York City Police Department, Mary Jo White et. al., Jan. 25,

2019, at p. 7 (the “2019 Panel Report”). However, less than 1% of those complaints resulted in a

disciplinary trial or settlement, presumably reflecting both the vast number of frivolous complaints

made, and the fact that most disciplinary measures are instituted for violation of department rules,

many of which are appropriately dealt with through command discipline.1 “[O]ver 60% of the

Department’s disciplinary cases are settled,” see 2019 Panel Report at 7; as discussed below (see

infra at F), officers who entered into Settlement agreements did so on the assumption that that

these settlement agreements would remain private pursuant to CRL § 50-a.

         49.      Although they vary in some respects, NYFD and NYDOC have similar tiered

procedures to investigate complaints against firefighters and correctional officers, but also provide

for further review by the Office of Administrative Trials and Hearings.

         B.       Respondents Announce Data Dump of Previously Confidential Records
         50.      Despite that many of these allegations are never proven and some are found to be


         1
           See Rebuttal from the Sergeant’s Benevolent Association, Ed Mullins, February 11, 2019, at p. 7 (reflecting
approximately 150 NYPD disciplinary cases tried per year, and approximately 300 cases “settled” per year). See also
NYPD       REPORT:        Discipline    in     the    NYPD,       2019     (last    accessed     07.12.2020          at
https://www1.nyc.gov/assets/nypd/downloads/pdf/analysis_and_planning/discipline/discipline-in-the-nypd-
2019.pdf.


                                                         13
           Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 14 of 34




completely unfounded, the Mayor, NYPD, and CCRB have indicated that they intend to release

all disciplinary records of firefighters, corrections officers, and police officers, including

Unsubstantiated and Non-Final Allegations, in a series of data dumps into internet databases

starting as early as July 15, 2020.

        51.      During a July 1 meeting, the NYPD provided Petitioners with a sample of the

DADS data it anticipated producing. The sample reflected information relating to 137 “open

pending disciplinary cases” against NYPD captains, lieutenants, sergeants, and officers ranging

from minor technical infractions—for example, leaving the home without authorization while on

sick leave—to serious crimes. At other times, the NYPD said it would promote on the internet all

pending matters, which are by definition unproven. In any case, there is an immediate threat of the

release of Unsubstantiated and Non-Final Allegations that must be enjoined.

        C.       Release of Unsubstantiated and Non-Final Allegations Violates Collective
                 Bargaining Agreements between the City and Certain Petitioners
        52.      The release of Unsubstantiated and Non-Final Allegations would nullify important

contractual rights in the collective bargaining agreements (“CBAs”) between most Petitioners and

the City.2 The CBAs entered into by Petitioners SBA, PBA, LBA, CEA, COBA, UFA and UFOA,

expired but currently controlling pursuant to the Triborough Amendment, provide their members

with a contractual right to have investigative reports that are classified as “exonerated,”

“unfounded,” or—in the case of the FDNY, otherwise “not guilty”—removed from their personnel

folders.

        53.      For example, Article XV, section 7(c) of the CBA entered into between the SBA

and the City states that the NYPD “will upon written request to the Chief of Personnel by the


        2
           Petitioners’ CBAs are attached to this Petition as Exhibit 2 (SBA), Exhibit 3 (PBA), Exhibit 4 (LBA),
Exhibit 5 (CEA), Exhibit 6 (DEA), Exhibit 7 (COBA), Exhibit 8 (UFA), and Exhibit 9 (UFOA).



                                                      14
         Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 15 of 34




individual employee, remove from the Personnel Folder investigative reports which, upon

completion of the investigation are classified ‘exonerated’ and/or ‘unfounded’.”                           With the

exception of the DEA, the other police and also the correction Petitioners’ CBAs have

substantively identical provisions.3

         54.       The police Petitioners’ CBAs also permit them to petition the Police Commissioner

to expunge the records of certain cases heard in the Trial Room where the disposition of the charge

at trial or on review or appeal is other than “guilty,” after 2 years have passed. See, e.g., LBA

CBA Article XVI, § 8 (“Disciplinary Records”).

         55.       Similarly, Article XVII Section 9 of the CBA entered into between the UFA and

the City states:

                   If an employee is found not guilty in a disciplinary hearing, the
                   record of the proceedings shall not become part of that employee’s
                   personal record. An employee who is found not guilty shall have
                   the right to examine that employee’s personal record in the presence
                   of an official of the Department after written request to the
                   Department to ascertain compliance.

UFA CBA, Article XVII, § 9. The UFOA CBA contains an identical provision. See UFOA CBA,

Article XVII, § 9. Likewise, under COBA’s CBA Article XVI, any member may have removed

from her or her personnel folder investigative reports that are classified exonerated or unfounded.

Under DOC Directive 4257R-A, VI(6), a violation of which is grievable under the CBA, when at

a command disciplinary hearing a Hearing Officer determines that the allegations are not

substantiated, no record of the command disciplinary charges is to be maintained except in the

command discipline log. Under that same directive, article X, a substantiated command discipline


         3
          See LBA CBA, Art. XVI, § 7(c); CEA CBA, Art. XIV, § 6(c); PBA CBA, Art. XVI, § 7(c), COBA CBA,
Art. XVI, § 11. The COBA CBA also notes that: “The past disciplinary or work record of an employee may not be
revealed during a Section 75, Civil Service Law, disciplinary proceeding until a determination as to guilt or innocence
of the member has been determined.” COBA CBA, Art. XVI, § 12.



                                                         15
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 16 of 34




shall be expunged from the member’s personnel folder after one year if they have not been

penalized thereafter in a separate disciplinary matter during that time.

       56.     Respondents’ planned action of dumping all pending and historical disciplinary

complaints against New York City police, fire and corrections officers on a public-facing online

database, without any review or analysis, would functionally negate the rights of officers to clear

their disciplinary records of unfounded and unsubstantiated allegations, where that information

would forever be publicly available in the future.

       57.     The rights contained in Petitioners CBAs were negotiated by Petitioners’ respective

Unions specifically because of the significant harm and embarrassment having inaccurate

complaints and allegations on Petitioners’ records could cause Petitioners, where personnel

records are used for future promotions and job transfers.

       58.     On Monday, July 13, 2020, four of the police union Petitioners filed grievances

with John P. Beirne, the Deputy Commission for the NYPD’s Office of Labor Relations, in

response to the anticipated one-sided nullification of their bargained for contractual rights,

demanding that Respondents “cease and desist.” And, the corrections union Petitioners filed a

grievance with New York City’s Office of Labor Relations Commissioner Renee Campion. See

Ex. 1. In grieving Respondents’ planned data dump, Petitioners argued that the release of the

Unsubstantiated and Non-Final Allegations against active and retired members would deprive

members of the benefit of contractual provisions allowing them to expunge from their personnel

files records relating to any investigations resulting in a not-guilty finding. Given the scope of

Petitioners’ rights potentially impacted by Respondents’ action, the Petitioners’ grievances were

filed directly at Step III, in accordance with the provisions of Respondents’ CBAs. See, e.g., PBA

CBA, Article XXI, § 4. Copies of the grievances are attached to this Petition as Exhibit 1.




                                                 16
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 17 of 34




       D.      Release of Unsubstantiated and Non-Final Allegations Violates the U.S. and
               N.Y. Constitutions
       59.     The United States and New York State Constitutions each provide that no person

shall be deprived of life, liberty, or property without due process of law. U.S. Const. amend. XIV;

N.Y. Const. s. 1, art. 6. Respondents’ disclosure of Unsubstantiated and Non-Final Allegations

will violate those Due Process Clauses because it will deprive the subject officers of future liberty

and property interests without adequate process.

       60.     The publication of Unsubstantiated and Non-Final Allegations against police

officers will “call[] into question their good name, reputation, honor, or integrity” and thus

stigmatize the firefighters and officers. Lee TT. v. Dowling, 87 N.Y.2d 699, 708 (1996) (internal

quotation marks omitted). Such stigmatization will include Unsubstantiated and Non-Final

Allegations related to serious crimes and serious misconduct.           These allegations may be

completely false, and yet Respondents intend to include them without regard for their veracity.

       61.     Beyond the reputational harm and stigma from simply having Unsubstantiated and

Non-Final Allegations indiscriminately promoted on the internet, these Allegations will be made

available to employers, credit agencies, landlords, banks officers, potentially eviscerating the

futures of many of the Petitioners, without sufficient and adequate due process.

       62.     In addition, the release of records of past Unsubstantiated and Non-Final

Allegations would doubly violate the Due Process Clauses because officers relied on the City’s

guarantee of the confidentiality of such allegations in deciding how to respond to them. If the

officers had known that the City would make such allegations public, they might have defended

themselves against the allegations in a more vigorous, more vocal, and more resource-intensive

fashion to protect their reputations, and hence their future liberty and property interests. Releasing

records of Unsubstantiated and Non-Final Allegations that pre-date the City’s announced intent to



                                                 17
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 18 of 34




publicize such records therefore would upset the officers’ reliance on the City’s guarantee to

protect their reputations and privacy from the harms associated with public disclosure of such

allegations.   Application of the repeal of § 50-a to existing records thus would have an

impermissible retroactive effect on the officers’ liberty and property interests in violation of the

Due Process Clauses.

       63.     If permitted, Respondents’ hastily planned database of Unsubstantiated and Non-

Final Allegations also will provide less protection to New York City firefighters, corrections

officers, and police officers—who unquestionably face unique safety concerns—than other

licensed professionals in the State enjoy.          See Office of the Professions, available at

http://www.op.nysed.gov/home.html (noting that the list of state-licensed professionals who have

unsubstantiated complaints kept confidential includes acupuncturists, architects, athletic trainers,

behavior analysts, certified public accountants, chiropractors, dentists, dental hygienists, dietitian-

nutritionists, engineers, geologists, interior designers, laboratory technicians, land surveyors,

landscape architects, massage therapists, medical physicists, mental health practitioners,

midwives, nurses, occupational therapists, opticians, optometrists, perfusionists, pharmacists,

physical therapists, podiatrists, polysomnographic technologists, psychologists, respiratory

therapists, social workers, shorthand reporters, speech pathologists, and veterinarians).

       64.     Indeed, the City’s treatment of all other licensed professionals excludes

Unsubstantiated and Non-Final Allegations. In New York’s online database of professional

misconduct, the City only includes those allegations that result in an adverse disciplinary action

against the professional. See Enforcement Actions, Office of the Professions, available at

http://www.op.nysed.gov/opd/rasearch.htm# (listing only actions against professionals that result

in an adverse action). Respondents have no practical reason to treat petitioners any differently.




                                                  18
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 19 of 34




This attempt to give firefighters and officers fewer protections in an arbitrary manner is not

rationally related to a legitimate government interest.

       E.      Release of Unsubstantiated and Non-Final Allegations Violates Settlement
               Contracts
       65.     The release of these documents, some of which contain settled cases, also violates

the settlement contracts negotiated by Petitioners and Respondents here. For decades, these

settlements were made against the backdrop of Civil Rights Law § 50-a, which required that the

disciplinary files be kept confidential.    That law, “in force at the time” of the settlement

agreements, is “a part of the contract.” Skandia America Reinsurance Corp. v. Schenck, 441 F.

Supp. 715, 724 (S.D.N.Y. 1977). Releasing these documents would breach settlement contracts

entered into before the repeal of § 50-a. On information and belief, the pending disclosure will

include even those cases where officers have entered into settlement agreements, which would

constitute a breach of the settlement agreement.

       F.      New York Has Long Recognized a Privacy Interest in Disciplinary Records,
               and Their Planned Mass Disclosure Is an Error of Law or an Abuse of
               Discretion
       66.     For decades, New York police, fire, and corrections departments were required

under Civil Rights Law § 50-a to keep personnel records, including the disciplinary files discussed

above, largely confidential. Civil Rights Law § 50-a was enacted in 1976 and provided that “[a]ll

personnel records used to evaluate performance toward continued employment or promotion . . .

shall be considered confidential and not subject to inspection or review.” The statute contained

only two exceptions to confidentiality: officer consent (Civil Rights Law § 50-a[1]) and court

authorization (Civil Rights Law § 50-a[3]). Section 50-a “was sponsored and passed as a safeguard

against potential harassment of officers through unlimited access to information contained in

personnel files.” Luongo v. Records Access Officer, 150 A.D.3d 13, 20 (1st Dep’t 2017).



                                                 19
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 20 of 34




       67.     On June 12, 2020, New York State repealed CRL § 50-a. While § 50-a provided

an express means for protecting all police, firefighter, and corrections officer personnel records,

regardless of their contents, that law was never the sole basis for keeping confidential significant

portions of those files. Respondents’ conclusion that these records may now be released legally,

and en masse, because of that repeal is erroneous as a matter of law under CPLR § 7803(3). In

addition to the legally protected interests described above, as is widely recognized, including by

the proponents of § 50-a’s repeal and the Court of Appeals, § 50-a was never the only source of

Respondents’ obligation to protect the privacy and safety of Petitioners’ members.

       68.     Respondents’ decision ignores legislative intent regarding the repeal of § 50-a. The

history of the legislation demonstrates a clear understanding that other sources of law would

provide continuing protections for certain types of personnel records. As even the most vocal

advocates for repeal of § 50-a recognized, other laws are intended to prevent the release of records

when disclosure will result in unwarranted invasions of personal privacy. Indeed, these protections

were expressly cited by the sponsor of the enacted Senate bill to repeal § 50-a as a reason that law

was    “unnecessary.”       Sponsor     Mem.,     N.Y.    Senate    Bill   S8496,    available    at

https://www.nysenate.gov/ legislation/bills/2019/s8496.

       69.     Civil Rights Law § 50-a was never the only source of the privacy protections for

Unsubstantiated and Non-Final Claims. For example, in 1979, shortly after § 50-a was codified,

the Court of Appeals observed that § 50-a “fairly reflects the pre-existing judicial consensus”

regarding the confidentiality of police personnel records. People v. Gissendanner, 48 N.Y.2d 543,

551 (1979). In other words, the privacy protections pre-existed § 50-a in the common law and

likewise survive § 50-a’s repeal. And the Court of Appeals has held that individuals may have a

“legally protected privacy interest” in ensuring public records disclosures do not violate their




                                                20
         Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 21 of 34




privacy interests. In New York Times Co. v. City of New York Fire Department, the Court held

that “surviving relatives [of 911 callers on September 11, 2001] have a legally protected privacy

interest” in nondisclosure of tapes and transcripts of those calls. 4 N.Y.3d 477, 485 (2005).

Likewise, here, Petitioners’ members have a privacy interest in nondisclosure of allegations that

may tarnish their reputations despite being, in many cases, without merit; this outweighs any public

interest in reviewing and relying on allegations that could be misleading or simply false. At

bottom, those with a “legally protected privacy interest” in nondisclosure of government records

must have a means of enforcing that interest. Respondents’ data dump deprives the identified

individuals of that opportunity.

         70.     Moreover, the Committee on Open Government has long taken the position that the

release of unsubstantiated allegations constitutes an unwarranted invasion of privacy. As one

advisory opinion explained: “when allegations or charges of misconduct have not yet been

determined or did not result in disciplinary action, the records relating to such allegations may …

be withheld, for disclosure would result in an unwarranted invasion of personal privacy ….

Further, to the extent that charges are dismissed or allegations are found to be without merit, I

believe that they may be withheld based on considerations of privacy.” Comm. on Open Gov’t,

Adv.       Op.      No.      FOIL-AO-17195            (May    29,         2008),     available    at

https://docs.dos.ny.gov/coog/ftext/f17195.html (internal citations omitted).         Another opinion

states: “In numerous contexts, it has been advised that records relating to unsubstantiated charges,

complaints or allegations may be withheld to protect the privacy of the accused.” Comm. on Open

Gov’t,     Adv.      Op.    No.    FOIL-AO-12005         (Mar.      21,     2000),    available   at

https://docs.dos.ny.gov/coog/ftext/f12005.htm.

         71.     Because Respondents’ failed to consider these other sources of protection for




                                                 21
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 22 of 34




information in government records, which exist independently of § 50-a, as well as because of the

legally protected interests identified above, their decision is an error of law.

       72.     In the alternative, by proceeding without due consideration of the many authorities

counseling against disclosure of Unsubstantiated and Non-Final Allegations and even their own

past treatment of such records— separate and apart from § 50-a—Respondents’ decision was

arbitrary and capricious under CPLR § 7803(3).

       73.     Respondents failed to do any reasoned analysis before disregarding legislative

intent, their previous judgments on the same issue, statements by the Committee on Open

Government, and the expectation set by the courts of this State in considering the privacy and

safety implications of releasing personnel records. Although Respondents are free to change

policies, they may not do so at the expense of the long-settled reliance interests of firefighters,

police officers and correction officers in the confidentiality of Unsubstantiated and Non-Final

Allegations.

       74.     The City has repeatedly recognized that disclosure of unsubstantiated disciplinary

records would itself constitute an “unreasonable invasion of privacy.” Hughes Hubbard & Reed

LLP v. Civilian Complaint Review Bd., 53 Misc.3d 947 (Sup. Ct., Kings Cnty. 2016) (citation

omitted); see also Luongo v. Records Access Officer, 150 A.D.3d 13, 25-26 (1st Dep’t 2017) (“In

addition to statutory exemptions, CCRB noted that the request for records relating to

unsubstantiated matters would constitute ‘an unreasonable invasion of privacy.’”) Their reversal

now lacks even a minimal level of analysis beyond the erroneous conclusion that the repeal of §

50-a permits unlimited disclosure.

       75.     This invasion of privacy also has implications for the safety of officers. Officers

accused of misconduct have been subject to threats and harassment and reprisals in recent years.




                                                  22
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 23 of 34




Naming firefighters and officers in an easily accessible database and listing every charge ever

levied against them, regardless of outcome or substantiation, will provide motivated and unstable

individuals with all the information they need to track down specific police officers. The news is

replete with examples of police officers who have been targeted and killed because of their

uniform. In recent years, three New York City police officers have been targeted and assassinated.

In 2014, Officers Wenjian Liu and Rafael Ramos were ambushed and killed while sitting in a

patrol car in Brooklyn. In 2017, Officer Miosotis Familia was shot at point-blank range while

sitting in her patrol car. And in 2018, federal authorities arrested a Brooklyn resident for targeting

NYPD officers with an improvised explosive device, killing an innocent civilian in the process.

As these incidents continue and even accelerate, officers have a reasonable interest in ensuring

their safety and the safety of their families.

        76.     The thoughtlessness and capriciousness is evident by the sample list that the NYPD

provided to show the nature of its data dump. Because Respondents’ sudden turnabout in policy

was effected without regard for its established practices and settled expectations, and made without

even a minimal level of analysis, it was arbitrary and capricious.

                                      CLAIMS FOR RELIEF
                               FIRST CAUSE OF ACTION:
       Art. 75 Breach of Collective Bargaining Agreement/TRO in Aid of Arbitration
        77.     Petitioners repeat and reallege paragraphs 1 through 76 as if fully stated herein.

        78.     In executing CBAs with Petitioners, the City agreed that all members of the SBA,

PBA, LBA, CEA, COBA, UFA and UFOA have a contractual right to have investigative reports

that are classified as “exonerated,” “unfounded” or, in the case of the FDNY, otherwise “not




                                                 23
         Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 24 of 34




guilty,” removed from their personnel folders.4 The City further agreed that officers in the employ

of the police Petitioners would be permitted to petition the Police Commissioner to expunge the

records of certain cases heard in the Trial Room where the disposition of the charge at trial or on

review or appeal is other than “guilty,” after 2 years have passed. See, e.g., LBA CBA Article

XVI, § 8 (“Disciplinary Records”).

        79.      Respondents’ planned action of dumping all pending and historical disciplinary

complaints against New York City police, fire and corrections officers on a public-facing online

database, without any review or analysis, would functionally negate the rights of officers to clear

their disciplinary records of unfounded and unsubstantiated allegations, leaving their bargained-

for rights null and void.

        80.      The rights contained in Petitioners’ CBAs were negotiated by Petitioners

specifically because of the significant harm and embarrassment having inaccurate complaints and

allegations on Petitioners’ records could cause Petitioners, where personnel records are used for

future promotions and job transfers, and where such protections have been long recognized as

important to officer safety.

        81.      Because use of officers’ personal records is a term and condition of their

employment, the officers have a right to collectively bargain over the confidential treatment of

their personnel files under the Taylor Law. See CSL §§ 203; 201(4).

        82.      Petitioners PBA, SBA, LBA, CEA and COBA have filed grievances in accordance

with the provisions of their respective CBAs demanding arbitration in response to this anticipated

one-sided nullification of their bargained-for contractual rights.


        4
          See LBA CBA, Art. XVI, § 7(c); CEA CBA, Art. XIV, § 6(c); PBA CBA, Art. XVI, § 7(c), COBA CBA,
Art. XVI, §§ 11, 12 & DOC Directive 4257R-A, Arts. VI(6) & X; UFA CBA, Article XVII, § 9; UFOA CBA,
Article XVII, § 9. While each of the referenced CBAs are expired, their terms continue uninterrupted pursuant to
The Triborough Amendment.


                                                      24
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 25 of 34




       83.      Temporary and preliminary injunctive relief is required to preserve the status quo

and enjoin Respondents from engaging in a data dump while the parties arbitrate this issue pursuant

to the terms of their CBAs, because Respondents have both publicly and privately indicated that

they intend to begin releasing this personal data, including the Unsubstantiated and Non-Final

Allegations, as soon as this coming Wednesday July 15, 2020. If this information is made available

to the public online, it will be reviewed and analyzed, reported on, and widely disseminated by the

media, ensuring that it will remain publicly available forever whether or not the City later decides

to remove it.

                              SECOND CAUSE OF ACTION:
   42 U.S.C. § 1983 - Violation of the Due Process Clause of the Fourteenth Amendment
                                   to the U.S. Constitution

       84.      Petitioners repeat and reallege paragraphs 1 through 83 as if fully stated herein.

       85.      Respondents plan to release, en masse, the entire collection of disciplinary

complaints lodged against firefighters and officers, regardless of outcome or substantiation.

       86.      The publication of Unsubstantiated and Non-Final Allegations will defame the

subject officers with accusations that are unsupported by evidence and that will unfairly tarnish

the officers’ reputations.    The Unsubstantiated and Non-Final Allegations are necessarily

defamatory because they are, by definition, mere accusations that were not supported by evidence,

have not been through the investigatory process, or are not final. In the alternative, the publication

of Unsubstantiated and Non-Final Allegations that accuse officers of criminal conduct (including

but not limited to domestic violence) or other conduct that would seriously affect future

employment opportunities in the law enforcement arena (including but not limited to excessive

force and filing a false report) is defamatory and likely to result in serious reputational harm. The

release of records of past Unsubstantiated and Non-Final Allegations also would upset the officers’



                                                 25
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 26 of 34




reliance interests formed by the City’s guarantee of confidentiality in deciding how much of their

time and resources to devote to rebutting such allegations and documenting exculpatory evidence.

        87.     Petitioners’ members have a protected liberty interest in seeking future employment

opportunities free from the specter of Unsubstantiated and Non-Final Allegations, which

Respondents intend to publish and publicize.

        88.     Petitioners’ members have a protected property interest in future employment

opportunities that will be unavailable to them because of the specter of Unsubstantiated and Non-

Final Allegations, which Respondents intend to publish and publicize.

        89.     Respondents do not intend to provide notice to the subject officers or an opportunity

to be heard before publication in the databases. There is not a mechanism for officers to have their

names or any allegations removed from the database.

        90.     On information and belief, Respondents have not evaluated, and do not intend to

evaluate, the individual disciplinary records before they are released.

        91.     Respondents made these decisions under color of state law and will deprive the

rights’ of Petitioners’ members while acting under color of state law.

        92.     Therefore, the Court should enjoin the determinations of Respondents and prohibit

the release of Unsubstantiated and Non-Final Allegations as well as any other disciplinary records

that implicate the privacy and safety concerns of officers. Temporary, preliminary, and permanent

injunctive relief is required to protect Petitioners’ rights.

                                 THIRD CAUSE OF ACTION:
 N.Y. Const. s. 1 art. 6 - Violation of the Due Process Clause of the N.Y. State Constitution

        93.     Petitioners repeat and reallege paragraphs 1 through 92 as if fully stated herein.

        94.     Respondents plan to release, en masse, the entire collection of disciplinary

complaints lodged against firefighters and officers, regardless of outcome or substantiation.


                                                   26
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 27 of 34




       95.     The publication of Unsubstantiated and Non-Final Allegations will defame the

subject firefighters and officers with accusations that are unsupported by evidence and that will

unfairly tarnish the officers’ reputations. The Unsubstantiated and Non-Final Allegations are

necessarily defamatory because they are, by definition, mere accusations that were not supported

by evidence, have not been through the investigatory process, or are not final. In the alternative,

the publication of Unsubstantiated and Non-Final Allegations that accuse officers of criminal

conduct (including but not limited to domestic violence) or other conduct that would seriously

affect future employment opportunities in the law enforcement arena (including but not limited to

excessive force and filing a false report) is defamatory and likely to result in serious reputational

harm. The release of records of past Unsubstantiated and Non-Final Allegations also would upset

the officers’ reliance interests formed by the City’s guarantee of confidentiality in deciding how

much of their time and resources to devote to rebutting such allegations and documenting

exculpatory evidence.

       96.     Petitioners’ members have a protected liberty interest in seeking future employment

opportunities free from the specter of Unsubstantiated and Non-Final Allegations, which

Respondents intend to publish and publicize.

       97.     Petitioners’ members have a protected property interest in future employment

opportunities that will be unavailable to them because of the specter of Unsubstantiated and Non-

Final Allegations, which Respondents intend to publish and publicize.

       98.     Even if any one member of the Petitioner unions may not experience any future

harm from the release of the documents, the release would decrease the average availability of jobs

and the average salary of union members.

       99.     Respondents do not intend to provide notice to the subject firefighters or officers




                                                 27
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 28 of 34




or an opportunity to be heard before publication in the databases. There is not a mechanism for

firefighters or officers to have their names or any allegations removed from the database.

        100.    On information and belief, Respondents have not evaluated, and do not intend to

evaluate, the individual disciplinary records before they are released.

        101.    Respondents made these decisions under color of state law and will deprive the

rights’ of Petitioners’ members while acting under color of state law.

        102.    Therefore, the Court should enjoin the Respondents from releasing Unsubstantiated

and Non-Final Allegations as well as any other disciplinary records that implicate the privacy and

safety concerns of officers. Temporary, preliminary, and permanent injunctive relief is required

to protect Petitioners’ rights.

                             FOURTH CAUSE OF ACTION:
42 U.S.C. § 1983 - Violation of the Equal Protection Clause of the Fourteenth Amendment
                                  to the U.S. Constitution

        103.    Petitioners repeat and reallege paragraphs 1 through 102 as if fully stated herein.

        104.    Respondents plan to release, en masse, the entire collection of disciplinary

complaints lodged against firefighters and officers, regardless of outcome or substantiation.

        105.    This release, which gives firefighters and officers different privacy protections than

other state-regulated professions, is not rationally related to a legitimate government purpose.

        106.    On information and belief, Respondents have not evaluated, and do not intend to

evaluate, the individual disciplinary records before they are released.

        107.    Respondents made these decisions under color of state law and will deprive the

rights’ of Petitioners’ members while acting under color of state law.

        108.    Therefore, the Court should enjoin the determinations of Respondents and prohibit

the release of Unsubstantiated and Non-Final Allegations as well as any other disciplinary records



                                                 28
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 29 of 34




that implicate the privacy and safety concerns of officers. Temporary, preliminary, and permanent

injunctive relief is required to protect Petitioners’ rights.

                                 FIFTH CAUSE OF ACTION:
     N.Y. Const. s. 1 art. 11 - Violation of the Equal Protection Clause of the N.Y. State
                                          Constitution

        109.    Petitioners repeat and reallege paragraphs 1 through 108 as if fully stated herein.

        110.    Respondents plan to release, en masse, the entire collection of disciplinary

complaints lodged against firefighters and officers, regardless of outcome or substantiation.

        111.    This release, which gives firefighters and officers different privacy protections than

other state-regulated professions and other public sector employees, is not rationally related to a

legitimate government purpose.

        112.    Therefore, the Court should enjoin the determinations of Respondents and prohibit

the release of Unsubstantiated and Non-Final Allegations as well as any other disciplinary records

that implicate the privacy and safety concerns of officers. Temporary, preliminary, and permanent

injunctive relief is required to protect Petitioners’ rights.

                                   SIXTH CAUSE OF ACTION:
                                       Breach of Contract

        113.    Petitioners repeat and reallege paragraphs 1 through 112 as if fully stated herein.

        114.    Petitioners and Respondents negotiated and executed settlement agreements that

incorporated a then-present confidentiality law.

        115.    Release of these records would violate those agreements.

        116.    On information and belief, Respondents have not evaluated, and do not intend to

evaluate, the individual police disciplinary records before they are released, and thus will release

cases that have settled under these settlement agreements.

        117.    Therefore, the Court should enjoin the determinations of Respondents and prohibit


                                                   29
           Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 30 of 34




the release of Unsubstantiated and Non-Final Allegations as well as any other police disciplinary

records that contain settlement agreements. Temporary, preliminary, and permanent injunctive

relief is required to protect Petitioners’ rights.

                        SEVENTH CAUSE OF ACTION:
        VIOLATION OF N.Y. C.P.L.R. § 7803 – Action Affected by an Error of Law
        118.    Petitioners repeat and reallege paragraphs 1 through 117 as if fully stated herein.

        119.    Respondents plan to release, en masse, the entire collection of disciplinary

complaints lodged against NYPD officers, regardless of outcome or substantiation.

        120.    As a matter of law, Unsubstantiated and Non-Final Allegations are confidential,

separate and apart from the existence of CRL § 50-a.

        121.    Release of records relating to Unsubstantiated and Non-Final Allegations would

constitute an unwarranted invasion of privacy and endanger the safety of the subjects of those

records.

        122.    On information and belief, Respondents have not evaluated, and do not intend to

evaluate, the individual police disciplinary records before they are released.

        123.    Because the pre-existing privacy exceptions plainly apply to Unsubstantiated and

Non-Final Allegations, any decision to release this data in full would necessarily an error of law.

        124.    In the alternative, failure to make individualized determinations regarding these

Unsubstantiated and Non-Final Allegations to determine whether any or all of it must be withheld

is an error of law.

        125.    Therefore, because Respondents’ decisions were affected by an error of law under

CPLR § 7803(3), the Court should annul the determinations of Respondents and prohibit the

release of Unsubstantiated and Non-Final Allegations. Temporary, preliminary, and permanent

injunctive relief is required to protect Petitioners’ rights.



                                                     30
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 31 of 34




                        EIGHTH CAUSE OF ACTION:
         VIOLATION OF N.Y. C.P.L.R. § 7803 – Arbitrary and Capricious Action
        126.   Petitioners repeat and reallege paragraphs 1 through 125 as if fully stated herein.

        127.   In deciding to release Unsubstantiated and Non-Final Allegations, Respondents’

have acted in an arbitrary and capricious manner.

        128.   Respondents failed to consider legislative intent, their previous judgments on the

same issue, statements by the Committee on Open Government, and the expectation set by the

courts of this State in considering the privacy and safety implications of releasing personnel

records. .

        129.   On information and belief, Respondents have not evaluated, and do not intend to

evaluate, individual police disciplinary records before they are released. Respondents’ complete

failure to conduct an individualized review is arbitrary and capricious and an abuse of discretion.

        130.   Although Respondents are free to change policies, they may not do so at the

expense of the long-settled reliance interests of firefighters and officers in the confidentiality of

Unsubstantiated and Non-Final Allegations.

        131.   To the extent Respondents have discretion to determine whether to release any

personnel data at all, it is an abuse of discretion to release the complete collection of police

disciplinary complaints (with a substantial portion thereof consisting of Unsubstantiated and Non-

Final Allegations) without performing a case-by-case analysis to determine whether disclosure is

warranted based on the unique circumstances of the case.

        132.   Therefore, the Court should annul the determination of Respondents and prohibit

the release of Unsubstantiated and Non-Final Allegations.             Temporary, preliminary, and

permanent injunctive relief is required to protect Petitioners’ rights.




                                                 31
        Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 32 of 34




                                 NINTH CAUSE OF ACTION:
                                    Declaratory Judgment
       133.    Petitioners repeat and reallege paragraphs 1 through 132 as if fully stated herein.

       134.    An actual case or controversy exists between Petitioners and Respondents

regarding the claims raised above.

       135.    Absent clarification from the Court, the dispute between Petitioners and

Respondents is capable of, and likely to be, recurring.

       136.    Accordingly, Petitioners are entitled to a declaration that publication of

Unsubstantiated and Non-Final Allegations (1) would violate the collective bargaining agreements

between the City and Petitioners; (2) would violate the Due Process Clauses of the U.S. and N.Y.

State Constitutions; (3) would violate the Equal Protection Clauses of the U.S. and N.Y. State

Constitutions; (4) would constitute a breach of contract in violation of settlement agreements; and

(5) would be a violation of law and arbitrary and capricious.

                                     PRAYER FOR RELIEF

       WHEREFORE, Petitioners respectfully request that this Court enter an Order:

           1. Temporarily and immediately restraining the publication of any records

               concerning Unsubstantiated and Non-Final Allegations or that regard settlement

               agreements entered into prior to June 12, 2020;

           2. To show cause as to why the court should not issue an injunction barring the

               publication of any records concerning Unsubstantiated and Non-Final Allegations

               or that regard settlement agreements entered into prior to June 12, 2020;

           3. Preliminarily and permanently enjoining the publication of any records

               concerning Unsubstantiated and Non-Final Allegations or that regard settlement

               agreements entered into prior to June 12, 2020;



                                                32
      Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 33 of 34




         4. Declaring that publication of Unsubstantiated and Non-Final Allegations (1)

            would violate the collective bargaining agreements between the City and

            Petitioners; (2) would violate the Due Process Clauses of the U.S. and N.Y. State

            Constitutions; (3) would violate the Equal Protection Clauses of the U.S. and N.Y.

            State Constitutions; (4) would constitute a breach of contract in violation of

            settlement agreements; and (5) would be a violation of law and arbitrary and

            capricious and

         5. Granting whatever other relief the Court deems necessary and just.

Dated: July 14, 2020                              DLA PIPER LLP (US)
      New York, New York
                                                  By: /s/ Anthony P. Coles
                                                  Anthony P. Coles
                                                  Michael R. Hepworth
                                                  1251 6th Avenue
                                                  New York, NY 10020
                                                  Telephone: (212) 335-4844
                                                  Facsimile: (212) 884-8644
                                                  Email: anthony.coles@dlapiper.com
                                                  Email: michael.hepworth@dlapiper.com
                                                  Courtney G. Saleski
                                                     (pro hac vice to be filed)
                                                  1650 Market Street, Suite 5000
                                                  Philadelphia, PA 19103-7300
                                                  Telephone: (215) 656-2431
                                                  Facsimile: (215) 606-2046
                                                  Email: courtney.saleski@dlapiper.com
                                                  Attorneys for Petitioners/Plaintiffs




                                             33
Case 1:20-cv-05441-KPF Document 1-1 Filed 07/15/20 Page 34 of 34
